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                                  UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEW JERSEY

      UNITED STATES OF AMERICA                                Honorable Douglas Arpert
                 v.                                           Mag. No. 12-2547 (DA)
      RANDY BENDER

                                                              ORDER FOR. CONTINUANCE


              This matter having been opened to the Court by Paul J. Fishm
                                                                          an, United States Attorney for
     the District of New Jersey (Jonathan W. Romankow, Assista
                                                                          nt U.S. Attorney, appearing), and
     defendant RANDY BiNDER (Steven Altman, Esq, appearing),
                                                             for                an order granting a continuance
     of the proceedings in the above-captioned matter; and two continuances
                                                                                         having previously been
     granted; and the defendant being aware that he has the right
                                                                  to have the      matter presented to a Grand
     Jury within thirty (30) days of the date of his arrest pursuant
                                                                       to Title 18 U.S.C. § 3161; and the
     defendant through his attorney having waived such rights and consen
                                                                        ted to the continuance; and for
     good and sufficient cause .shown

             IT IS THE FINDING OF THIS COURT that this action should
                                                                                          be continued for the
     following reasons:

                      I. Plea negotiations currently are in progress, and both the United
                                                                                                  States and the
           • defcndant desire additional time to enter a plea in Court,
                                                                          which would thereby render trial
             of this matter unnecessary.

                      2. Defendant has consented to the aforementioned continuance.

                      3, The grant of a continuance will likely conserve judicial
                                                                                     resources.
                      4. Pursuant to Title 18 of the United States Code, Section 3
                                                                                         161(h)(7)(A), the ends
             ofjustice served by granting the continuance outweigh the best interes
                                                                                   ts      ofthepubiic and the
             defendants in a speedy trial.
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             WHEREFORE, on this            day off-, 2012;

             ORDERED that the proceedings in the above-captioned
                                                                     matter are continued from October
      23, 2012 through Decernbor 21. 2012; and It is further

             ORDERED that the period between from October 23,
                                                                      20i2 through December 21, 2012
      shall be excludable in computing time under the Speedy
                                                               Trial Act of 1974.



                                                           A


                                          HON. DOUGLA%AU’ERT
                                          United States Mgstiate Judge




     Form and




     STEVEN ALTMAN, Esq
     Counsel for Dcfendant Randy Binder
